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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  12    VERNE RAYMOND ORLOP, JR.,                 Case No. 5:19-cv-02314-JFW (SHK)

  13                                Petitioner,
                                                  JUDGMENT
  14                       v.

  15    WARDEN,
  16
                                  Respondent.
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  19         Pursuant to the Order Accepting Findings and Recommendation of United
  20   States Magistrate Judge,
  21         IT IS HEREBY ADJUDGED that this action is DISMISSED without
  22   prejudice.
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  24   Dated: October 15, 2020
  25                                      HONORABLE JOHN F. WALTER
  26                                      United States District Judge
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